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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  ADAM GHADIRI                          CASE NO.
                                        8:20−cv−01139−DSF−JDE
               Plaintiff(s),
        v.                               Order to Show Cause re
  SILVER SIGNS, et al.                   Dismissal for Lack of
                                         Prosecution
              Defendant(s).




       Generally, defendants must answer the complaint within 21 days after
     service or 60 days if the defendant is the United States. Fed. R. Civ. P.
     12(a)(1).
        In this case, Silver Signs, Silverio Ornelas and Wayne A White failed to
     plead or otherwise defend within the relevant time. The Court orders plaintiff
     to show cause in writing on or before October 9, 2020 why the claims
     against the non-appearing defendant(s) should not be dismissed for lack of
     prosecution. Failure to respond to this Order may result in sanctions,
     including dismissal for failure to prosecute.

       IT IS SO ORDERED.

  Date: September 25, 2020                    /s/ Dale S. Fischer
                                             Dale S. Fischer
                                             United States District Judge
